          Case 12-27642                  Doc 166        Filed 05/31/18 Entered 05/31/18 15:45:42                               Desc Main
 Fill in this information to identify the case:          Document     Page 1 of 5
 Debtor 1              Donal Martin McDonagh
                       __________________________________________________________________

 Debtor 2               Michele  Rawls McDonagh
                        ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Western District      of __________
                                                          of Tennessee
                                                      District

 Case number            12-27642
                        ___________________________________________




Qhhkekcn"Hqto 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtors plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtors principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   US Bank Trust National Association, et al.
 Name of creditor: _______________________________________                                                        21-1
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtors account:                           1 ____
                                                         ____ 4 ____
                                                                  6 ____
                                                                      0              Must be at least 21 days after date        08/01/2018
                                                                                                                                _____________
                                                                                     of this notice


                                                                                     New total payment:                               6,201.79
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtors escrow account payment?
      ̌
      ✔ No
      ̌ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                      New escrow payment:          $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtors principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ̌    No
      ̌
      ✔    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:                   6.00
                                                  _______________%                New interest rate:                     5.25
                                                                                                               _______________%

                                                                  5,992.45
                   Current principal and interest payment: $ _______________                                                  6,201.79
                                                                                  New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtors mortgage payment for a reason not listed above?
      ✔
      ̌    No
      ̌    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                           page 1
           Case 12-27642                  Doc 166                 Filed 05/31/18 Entered 05/31/18 15:45:42                        Desc Main
                                                                   Document     Page 2 of 5

Debtor 1         Donal    Martin McDonagh
                 _______________________________________________________                                          12-27642
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     ̌     I am the creditor.
     ✔
     ̌     I am the creditors authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 W/s/ Megan M. Lynch
     _____________________________________________________________
     Signature
                                                                                               Date    05/31/2018
                                                                                                       ___________________




 Print:             Megan                 M.             Lynch
                    _________________________________________________________                  Title   Bankruptcy   Asset Manager
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            SN Servicing Corporation
                    _________________________________________________________



 Address            323 5th Street
                    _________________________________________________________
                    Number                 Street

                    Eureka                           CA      95501
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      800-603-0836
                    ________________________                                                          bknotices@snsc.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
Case 12-27642   Doc 166   Filed 05/31/18 Entered 05/31/18 15:45:42   Desc Main
                           Document     Page 3 of 5
Case 12-27642   Doc 166   Filed 05/31/18 Entered 05/31/18 15:45:42   Desc Main
                           Document     Page 4 of 5
Case 12-27642     Doc 166      Filed 05/31/18 Entered 05/31/18 15:45:42              Desc Main
                                Document     Page 5 of 5



                             CERTIFICATE OF SERVICE

                 STATE OF CALIFORNIA, COUNTY OF HUMBOLDT

        I, Megan M. Lynch, certify that I am a resident of the County aforesaid; I am over

 the age of 18 years and not a party to the within action; my business address is 323 Fifth

 Street, Eureka, California 95501.

        On May 31st 2018 I served the within NOTICE OF MORTGAGE PAYMENT

 CHANGE on all interested parties in this proceeding by placing a true and correct copy

 thereof enclosed in a sealed envelope with postage prepaid in the United States mail at

 Eureka, California, addressed as follows:

 Donal and Michele Mcdonagh
 2416 Sanders Ridge
 Germantown, TN 38138-6144

 George W. Stevenson
 5350 Poplar Avenue, Suite 500
 Memphis, TN 38119-3697

 James D. Gentry
 5100 Poplar Avenue, Suite 2008
 Memphis, TN 38137


        I certify under penalty of perjury that the foregoing is true and correct.

        Executed on May 31st 2018 at Eureka, California.

                                               /s/ Megan M. Lynch
                                               Megan M. Lynch
